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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION
UNITED STATES OF AMERICA

       VS                                                      CASE NO. 3:98cr86-02/RV

FELIX SALVADORE GONZALEZ

                                  REFERRAL AND ORDER

Referred to Senior Judge Roger Vinson on November 28, 2005
Motion/Pleadings: MOTION to eliminate enhancements and reduce sentence
Filed by Defendant                       on 11/14/2005      Doc.#      244

RESPONSES:
United States                              on 11/21/2005            Doc.#      245
                                           on                       Doc.#
        Stipulated          Joint Pldg.
        Unopposed           Consented
                                           WILLIAM M. McCOOL, CLERK OF COURT

                                             s/Jerry Marbut
LC (1 OR 2)                                Deputy Clerk: Jerry Marbut

                                          ORDER
Upon   consideration   of   the    foregoing,   it   is   ORDERED    this       28th   day   of
  November             , 2005, that:
(a) The relief requested is DENIED.
(b)




                                            /s/ Roger Vinson
                                                           ROGER VINSON
                                               Senior United States District Judge
